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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION




   UNITED STATES OF AMERICA

   v.                                                CASE NO.: 8:09-cr-93-T-23EAJ

   WASHINGTON RUIZ OVIEDO
   __________________________________/


                                           ORDER

         Claiming that recent amendments to the United States Sentencing Guidelines

   "could further reduce and or adjust [his] sentence," Oviedo moves (Doc. 139) "For

   reduction of Sentence in Light of the November 1st 2010 Amendments to the U.S.S.G."

   and seeks "the specific departure based on cultural assimilation (§ 2L1.2) and or any

   combination of departures and variances."

         Oviedo's judgment of imprisonment (Doc. 119) was filed August 13, 2009.

   Oviedo filed no direct appeal.

         A reduction in a term of imprisonment is authorized by 18 U.S.C. § 3582(c)(2)

   when a guideline range applicable to a defendant is subsequently lowered and the

   applicable amendment is listed in Section 1B1.10(c) of the Sentencing Guidelines.
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   Because none of the November 1, 2010, amendments to the Sentencing Guidelines is

   listed in Section 1B1.10(c) of the Sentencing Guidelines, the amendments apply

   prospectively only.

         Accordingly, Oviedo's motion for a reduction of sentence is DENIED.

         ORDERED in Tampa, Florida, on November 8, 2010.




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